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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF GEORGIA
                                  ALBANY DIVISION

UNITED ST ATES OF AMERICA                            CRIMINAL NO.: 1:18-CR- j/;

               v.                                    VIOLATION: 21 U.S.C. 846 i/c/w
                                                                21 U.S.C. 841(a)(1)
                                                                841 (b)(l)(B)(iii)
      DEONTAE WATKINS                                           84l(b)(l)(C)
      TRAVIS TISE                                               18 U.S.C. 924(c)
      LATISHA MAN INGS
      ROBERT SHEPARD
      FREDERICK MILLER
      TYQUAN WILLIAMS
      ALEX PRICE
      CHANDRA MARSHALL
      ERICA KINDER
      ETOYOJONES
      LANDIS ROLLINS
      TYRONE KING
      WILLIAM BOOZER
      CLAMINTA MCGRIFF
      MICHAEL COLLIER
Defendants.


THE GRAND JURY CHARGES:

                                          COUNT ONE

          (Conspiracy to Possess with Intent to Distribute Cocaine and Cocaine Base)

       Beginning sometime before January l, 2017 and continuing until on or about June 20,

2017, the exact dates being unknown to the Grand Jury, in the Albany Division of the Middle

District of Georgia and elsewhere within the jurisdiction of this Court, the defendants,

                                    DEONTAE WATKINS
                                       TRAVIS TISE
                                    LATISHA MAN INGS
                                     ROBERT SHEP ARD
                                    FREDERICK MILLER
                                    TYQUAN WILLIAMS
                                       ALEX PRICE
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                                        CHANDRA MARSHALL
                                           ERICA KINDER
                                           ETOYOJONES
                                          LANDIS ROLLINS
                                           TYRONE KING
                                         WILLIAM BOOZER
                                       CLAMINT A MCGRIFF and
                                         MICHAEL COLLIER

did unlawfully, knowingly, and intentionally conspire together with one another and with others

both known and unknown to the Grand Jurors to possess controlled substances, to wit: cocaine and

in excess of 28 grams of a mixture and substance containing cocaine base with the intent to

distribute each of said controlled substances, all in violation of Title 21, United States Code,

Section 846 i/c/w Title 21 United States Code Section 841(a)(1) and 84l(b)(l)(B)(iii), and

841 (b )( 1)(C)).

                                          COUNT TWO

                    (Possession with Intent to Distribute/Distribution of Cocaine)

             On or about May 4, 2017 , in the Albany Division of the Middle District of Georgia

    and elsewhere within the jurisdiction of this Court, the defendants,

                          TRAVIS TISE AND LATISHA MANNINGS

    aided and abetted by one another and by others known and unknown to the Grand Jury did

    unlawfully, knowingly, and intentionally possess with the intent to distribute and did

    distribute a Schedule I1 controlled substance, to wit: cocaine all jn violation of Title 21,

    United States Code, Sections 841 (a)( l) and 841 (b)(l )(C) and Title 18, United States Code,

    Section 2.
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                                     COUNT THREE

                     (Possession of Cocaine with Intent to Distribute)

       On or about May 4, 2017, in the Albany Division of the Middle District of Georgia

and elsewhere within the jurisdiction of this Court, the defendant,

                                  WILLIAM BOOZER

aided and abetted by one another and by others known and unknown to the Grand Jury did

unlawfully, knowingly and intentionally possess with the intent to distribute a Schedule II

controlled substance, to wit: cocaine all in violation of Title 2 I, United States Code,

Sections 841(a)(l) and 84l(b)(l)(C) and Title 18, United States Code, Section 2.

                                     COUNT FOUR

              (Possession with Intent to Distribute/Distribution of Cocaine)

       On or about May 12, 2017, in the Albany Division of the Middle District of Georgia

and elsewhere within the jurisdiction of this Court, the defendants,

                     TRAVIS TISE A D LATISHA MANNINGS

aided and abetted by one another and by others known and unknown to the Grand Jury did

unlawfully, knowingly, and intentionally possess with the intent to distribute and did

distribute a Schedule II controlled substance, to wit: cocaine all in violation of Title 2 I,

United States Code, Sections 84l(a)(l) and 84l(b)(l)(C) and Title 18, United States Code,

Section 2.

                                      COUNT FIVE

                     (Possession of Cocaine with Intent to Distribute)

       On or about May 12, 2017, in the Albany Division of the Middle District of Georgia

and elsewhere within the jurisdiction of this Court, the defendant,
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                                   LANDIS ROLLINS

aided and abetted by one another and by others known and unknown to the Grand Jury did

unlawfully, knowingly and intentionally possess with the intent to distribute a Schedule U

controlled substance, to wit: cocaine all in violation of Title 21 , United States Code,

Sections 841(a)(l) and 84l(b)(l)(C) and Title 18, United States Code, Section 2.

                                       COUNT SIX

                     (Possession of Cocaine with Intent to Distribute)

       On or about May 26, 2017, in the Albany Division of the Middle District of Georgia

and elsewhere within the jurisdiction of this Court, the defendants,

                     TRAVIS TISE AND LA TISHA MANNI GS

aided and abetted by one another and by others known and unknown to the Grand Jury did

unlawfully, knowingly, and intentionally possess with the intent to distribute a controlled

substance, to wit: cocaine all in violation of Title 21, United States Code, Sections

841 (a)(l) and 841 (b)(l )(C) and Title 18, United States Code, Section 2.

                                     COUNT SEVEN
                  (Possession of Cocaine Base with Intent to Distribute)

       On or about May 26, 2017, in the Albany Di vision of the Middle District of Georgia

and elsewhere within the jurisdiction of this Court, the defendants,

                     TRAVIS TISE AND LATISHA MANNINGS

aided and abetted by one another and by others known and unknown to the Grand Jury did

unlawfully, knowingly, and intentionally possess with the intent to distribute a controlled

substance, to wit: cocaine base all in violation of Title 21, United States Code, Sections

841 (a)(l) and 841 (b)(l )(C) and Title 18, United States Code, Section 2.
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                                           COUNT EIGHT

              (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

           On or about May 26, 2017, in the Albany Division of the Middle District of Georgia

   and elsewhere within the jurisdiction of this Court, the defendants,

                         TRAVIS TISE AND LATISHA MANNINGS

aided and abetted by one another and by persons both known and unknown to the Grand Jury did

possess a firearm in furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States, to-wit: the offenses set forth in Counts I, 6 and 7 of this Indictment,

said firearm being; a .22 caliber Glenfield rifle all in violation of Title 18, United States Code

Sections 2 and 924(c)(l)(A)(i).

                                          A TRUE BILL.




                                          SI
                                          FOREPERSON OF THE GRAND JURY

PRESENTED BY:

CHARLES E. PEELER
UNITED STATES ATTORNEY

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LEAH E. McEWE
              t' 2)(c· ) ),_
ASSISTA T UNITED STATES ATTORNEY


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          Deputy Clerk
